Case 3:18-cr-00673-ADC Document1 Filed 10/24/18 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA, INDICTMENT

J CRIMINAL NO. 18- (g 13 (KOC D
VIOLATIONS:

21 U.S.C. § 841(a)(1)
18 U.S.C. § 1791(a)(1)

CHRISTIAN OMAR MARQUEZ-CRUZ
Defendant.

THREE COUNTS

 

 

THE GRAND JURY CHARGES:

 

COUNT ONE
Possession with Intent to Distribute Suboxone
(Title 18, United States Code, Section 841(a)(1))
On or about September 17, 2018, in the District of Puerto Rico and within the jurisdiction of this
Court, the defendant,
CHRISTIAN O. MARQUEZ-CRUZ,
did knowingly and intentionally possess with intent to distribute a mixture or substance containing a
detectable amount of buprenorphine, also known as Suboxone, a Schedule III narcotic controlled
substance. All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(E).
COUNT TWO
Attempt to Distribute Buprenorphine to Federal Inmate
(Title 18, United States Code, Section 1791(a)(1))
On or about September 17, 2018, in the District of Puerto Rico and within the jurisdiction of this
Court, the defendant,
CHRISTIAN O. MARQUEZ-CRUZ,
contrary to Title 21, United States Code, Section 841(a)(1) and Title 28, Code of Federal Regulations,

Section 6.1, attempted to provide a prohibited object, namely, a mixture or substance containing a
Case 3:18-cr-00673-ADC Document1 Filed 10/24/18 Page 2 of 2

detectable amount of buprenorphine, also known as Suboxone, a Schedule III narcotic controlled
substance, to an inmate of the Metropolitan Detention Center a federal detention center, while at the
Federico Degetau Federal Building and Clemente Ruiz Nazario U.S. Courthouse. All in violation of
Title 18, United States Code, Sections 1791(a)(1) and 1791(b)(1).
COUNT THREE
Attempt to Distribute Sim Cards to Federal Inmate
(Title 18, United States Code, Section 1791(a)(1))

On or about September 17, 2018, in the District of Puerto Rico and within the jurisdiction of this

Court, the defendant,
CHRISTIAN O. MARQUEZ-CRUZ,

contrary to Title 28, Code of Federal Regulations, Sections 6.1, 553.12, and 500.1(h) attempted to
provide a prohibited object, namely, sim cards, to an inmate of the Metropolitan Detention Center, a

federal detention center, while at the Federico Degetau Federal Building and Clemente Ruiz Nazario

U.S. Courthouse. All in violation of Title 18, United States Code, Sections 1791(a)(1) and 1791(b)(4).

. Date: (C4. oY BONE
ROSA EMILIA RODRIGUEZ-VELEZ
United States Attorney

   
 
    

 

    
  

 

 

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Jenifég Y. Hernandez-Veg
Assistant United\Sfates Assistant United States Attorney
Violent Crimes Unit

Chief, Violent Crimes Umt
